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UNITED STATES DISTR!CT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIV[SION
UNITED STATES OF AMERICA, ) CRQB 1 5 0 0 2 2
)
Plaintiff, ) SEALING ORDER
)
v. )
)
DOUGLAS STROMS YORK, )
)
Del"endant. )
)
)

 

 

 

The Court hereby orders that the indictment filed in United States v. York, as well

as this Sealing order, be filed under Seal.

IT IS SO ORDERED.

April 224 2015 F*?~":~ /1/1'**“`&
-l-}@'Wv@cRB-Fr-I:l:Q-¥DFPML. ‘:`» G,P.EWL`*_L..
United States Magistrate Judge

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